
55 So.3d 747 (2011)
Charles E. LOUIS, Appellant,
v.
STATE of Florida, UNEMPLOYMENT APPEALS COMMISSION, et al., Appellees.
No. 4D10-3190.
District Court of Appeal of Florida, Fourth District.
March 16, 2011.
Charles E. Louis, Plantation, pro se.
Louis A. Gutierrez, Deputy General Counsel, Tallahassee, for appellee.
PER CURIAM.
Affirmed. See Suarez v. Unemployment Appeals Commission, 871 So.2d 1039 (Fla. 5th DCA 2004).
GROSS, C.J., MAY and GERBER, JJ., concur.
